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       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number: 16 CV 10621
CHARLES STOKES
v.
CITY OF CHICAGO, et al.


AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Plaintiff, Charles Stokes




NAME (Type or print)
Gregory E. Kulis
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Gregory E. Kulis
FIRM
Gregory E. Kulis & Associates, Ltd.
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ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                  TELEPHONE NUMBER
6180966                                                 (312) 580-1830

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES              NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES              NO


ARE YOU A MEMBER OF THIS COURT S TRIAL BAR?                          YES              NO


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES   NO


IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
